                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             WESTERN DIVISION

 UNITED STATES OF AMERICA,

                              Plaintiff,

        v.                                       Case No. 18-00293-08-CR-W-DGK

 CHRISTIAN DOUGLAS HANSEN,

                              Defendant.

    MOTION TO REQUEST WRIT OF HABEAS CORPUS AD PROSEQUENDUM

       Comes now the United States of America, by the undersigned Assistant United States

Attorney, and respectfully requests a Writ of Habeas Corpus Ad Prosequendum.

       Christian Douglas Hansen, DOB:      04/14/1979, DOC #336322, is currently incarcerated

at the Boonville Correctional Center, 1216 E. Morgan Street, Booneville, Missouri 65233.

                                                   Respectfully submitted,

                                                   Timothy A. Garrison
                                                   United States Attorney

                                           By:     /s/ Bruce Rhoades

                                                   Assistant United States Attorney
                                                   Narcotics & Violent Crimes Unit

                                                   Charles Evans Whittaker Courthouse
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